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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

      CONSUMER FINANCIAL
      PROTECTION BUREAU,

           Plaintiff,

      v.                                                   No. 4:21-cv-01251-P

      FIRSTCASH, INC. ET AL.,

           Defendants.

                             OPINION AND ORDER

         Before the Court are Plaintiff ’s Motion to Strike (ECF No. 76) and
      Defendants’ Motion for Partial Summary Judgment (ECF No. 80). After
      carefully reviewing both motions and the applicable law, the Court
      GRANTS in part Plaintiff ’s Motion to Strike and DENIES Defendants’
      Motion for Partial Summary Judgment.

                                    SUMMARY

          The Military Lending Act sets limits on consumer loans to active-
      duty servicemembers and their dependents. 10 U.S.C. § 987. Paragraph
      (f)(5) of the Act gives covered borrowers a private right of action against
      lenders who violate those limits. Id. § 987(f)(5)(A). That paragraph also
      provides an affirmative defense to any lender who violates the Act
      through a mere “bona fide error.” Id. § 987(f)(5)(D). The next paragraph
      empowers federal agencies like the Consumer Financial Protection
      Bureau (“CFPB”) to enforce the Act’s provisions. Id. § 987(f)(6).

         These competing motions raise an issue of first impression: Is the
      “bona-fide-error defense” available in suits by federal agencies? The
      Court concludes that it is not for two reasons. First, the Act’s bona-fide-
      error defense protects defendants from civil liability to a person (i.e., a
      covered borrower) only when the defendant violates the Act “with
      respect to” that person. Because a person cannot violate the Act “with
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      respect to” a federal agency, the bona-fide-error defense does not apply
      to a federal agency’s claims. Second, the bona-fide-error defense protects
      against kinds of relief that are distinct from the relief that federal
      agencies are authorized to recover.

                        PROCEDURAL BACKGROUND

          The CFPB brought this action against FirstCash, Inc. and its
      subsidiaries (collectively, “FirstCash”). It alleges that FirstCash
      violated the Act and a 2013 administrative order issued against a
      predecessor to FirstCash. The CFPB further contends that FirstCash
      made pawn loans to active-duty servicemembers and their dependents
      (or “Covered Borrowers”) that (1) charged interest rates exceeding the
      Act’s 36% cap, (2) required arbitration in violation of the Act, and
      (3) failed to provide mandatory disclosures.

         Specifically, the CFPB claims that between June 2017 and May 2021,
      FirstCash issued more than 3,600 prohibited loans to Covered
      Borrowers in multiple states, including Arizona, Nevada, Utah, and
      Washington. It also claims that FirstCash is bound by a 2013
      administrative order prohibiting Defendant Cash America from future
      violations of the Act and FirstCash’s conduct following its 2016 merger
      with Cash America constitutes a breach of that order.

         In its answer, FirstCash asserts various affirmative defenses,
      including the bona-fide-error defense. The CFPB moves to strike the
      bona-fide-error defense under Rule 12(f), arguing that it is only available
      when a private party is the plaintiff. ECF No. 76. The CFPB also moves
      to strike FirstCash’s sixth and eighth affirmative defenses, which
      purport to reserve rights. Id. FirstCash in turn moves for partial
      summary judgment, arguing that Rule 56 is a more appropriate vehicle
      for determining whether the bona-fide-error defense applies. ECF No.
      80. FirstCash’s motion also seeks summary judgment on the first three
      counts of the CFPB’s complaint. FirstCash argues that the CFPB
      judicially admitted that it proceeds under a statute that would rob this
      Court of jurisdiction over those three claims. Id. Both motions are ripe
      for review. Because both motions turn on the same question of law, the
      Court takes them up together.

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                               LEGAL STANDARD
         Rule 12(f) allows a court to strike any “insufficient defense” from a
      pleading. FED. R. CIV. P. 12(f). Striking a defense is a handy way to
      dispose of patently insufficient defenses. See C&C Inv. Props., LLC v.
      Trustmark Nat’l Bank, 838 F.3d 655, 660–61 (5th Cir. 2016). Motions to
      strike are appropriate when a “defense is insufficient as a matter of law.”
      Kaiser Aluminum & Chem. Sales, Inc. v. Avondale Shipyards, Inc., 677
      F.2d 1045, 1057 (internal citation omitted). But courts often frown upon
      motions to strike, and it is rare for courts in the Fifth Circuit to grant
      them. See United States v. Coney, 689 F.3d 365, 379 (5th Cir. 2012). The
      Court of Appeals has instructed that a district court should “defer
      action” on a motion to strike when there exist “substantial questions of
      law,” unless leaving the pleadings intact would prejudice the moving
      party. Augustus v. Bd. of Pub. Instruction of Escambia Cnty., Fla., 306
      F.2d 862, 868 (5th Cir. 1962).

         Summary judgment is proper on a defense or part of a defense if
      there is no genuine issue of material fact and the movant is entitled to
      judgment as a matter of law. FED. R. CIV. P. 56; Nuziard v. Minority Bus.
      Dev. Agency, ––– F. Supp. 3d ––––, No. 4:23-cv-00278-P, 2024 WL
      965299, at *3 (N.D. Tex. Mar. 5, 2024). The court must deny summary
      judgment if there remains any genuine issue of material fact. Equal
      Emp. Opportunity Comm’n v. Rock-Tenn Servs. Co., Inc., 901 F. Supp.
      2d 810, 814. (N.D. Tex. 2012) (internal citations omitted). When a party
      moves for summary judgment on its own affirmative defense, it must
      “establish beyond all peradventure all the essential elements of the
      defense.” Id. at 15 (polished).

                                     ANALYSIS
          At the outset, the parties spill about fifteen pages’ worth of ink
      debating which “procedural vehicle” (i.e., a motion to strike pleadings or
      for summary judgment) the Court should use to decide the single legal
      question here. But because both motions seek other relief besides a
      decision on the legal issue, the Court will take up each motion in turn
      instead of discussing the parties’ lengthy procedural arguments.


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      A. FirstCash’s Motion for Summary Judgment

         FirstCash moves for summary judgment on the availability of its
      bona-fide-error defense and on the CFPB’s first three claims. The Court
      discusses each in turn.

         1. FirstCash is not entitled to judgment as a matter of law on the
            bona-fide-error defense.

         As discussed above, the bona-fide-error defense protects defendants
      who violate the Act unintentionally and as a result of “a bona fide error
      notwithstanding the maintenance of procedures reasonably adapted to
      avoid any such error.” 10 U.S.C. § 987(f)(5)(D). FirstCash asks the Court
      to “reject the CFPB’s claim that the bona fide error defense is
      unavailable as a matter of law and enter partial summary judgment in
      favor of FirstCash on that issue.” ECF No. 81 at 20.

          But FirstCash does not even argue, let alone prove, that it is entitled
      to judgment as a matter of law on any element of its bona-fide-error
      defense. FirstCash does not attach evidence to its motion for partial
      summary judgment to support any essential facts of the defense. See
      ECF No. 81. Instead, FirstCash simply argues that, as a legal matter,
      the bona-fide-error defense should be available in actions like this one.
      For that reason, partial summary judgment would be inappropriate on
      its face even if the bona-fide-error defense did apply.

          While it is true that Rule 56(a) allows a party to move for summary
      judgment on “part of a . . . defense,” FED R. CIV. P. 56(a), courts have not
      interpreted that phrase the way FirstCash does. Instead, courts have
      given meaning to the word “part” in Rule 56 by (a) granting some, but
      not all, of the relief sought in a single claim or (b) resolving fewer than
      all the legal issues relevant to a claim. For example, in a 1981 decision
      from the Western District of Missouri, the district court granted
      summary judgment for $13,427.02 in commissions—even though the
      plaintiff sought more for that claim—because the defendant admitted
      that he owed that amount. Blackford v. Action Prods. Co., Inc., 92 F.R.D.
      79, 79–80 (W.D. Mo. 1981). And in a 1993 decision from the Eastern
      District of Michigan, the court granted summary judgment on the first


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      of two essential elements of the plaintiff ’s claim when that element was
      satisfied “beyond doubt.” Fr. Stone Co., Inc. v. Charter Twp. of Monroe,
      790 F. Supp. 707, 708–10 (E.D. Mich. 1992). Those examples stand in
      contrast to FirstCash’s motion here, which seeks nothing more than an
      advisory opinion from this Court that the bona-fide-error defense is
      applicable against a federal agency.

         FirstCash relies on two other cases to support its proposed use of
      summary judgment as a vehicle to present its argument to the Court,
      but both fall short.

         First, in L.C. Eldridge Sales Co. v. Azen Mfg. Pte. Ltd., the court
      granted partial summary judgment, finding that the Patent Act applied
      to certain rigs. No. 6:11CV599, 2013 WL 7964028 (E.D. Tex. Nov. 14,
      2013), aff’d in part sub nom. L.C. Eldridge Sales Co., Ltd. v. Jurong
      Shipyard Pte., Ltd., 610 Fed. App’x 1015 (Fed. Cir. 2015). For the Patent
      Act to apply, the rigs had to be “attached to the seabed,” Id. at *1, which
      no party disputed. Because there was no fact issue on that threshold
      question, partial summary judgment was appropriate. Here, though,
      FirstCash has presented no facts that would dispose of any essential
      elements of the bona-fide-error defense.

         Second, in United States ex rel. King v. Solvay S.A., the court granted
      partial summary judgment that the defense of waiver and estoppel was
      unavailable. 304 F.R.D. 507, 511–12 (S.D. Tex. 2015). But the court did
      not hold that the affirmative defense was unavailable as a matter of law.
      Id. at 512. The defendant simply had not produced facts justifying the
      use of that defense against the United States in that instance. Id. Solvay
      therefore does not help FirstCash.

         These decisions are thus inapplicable to the question presented to
      the Court. The Court DENIES FirstCash’s motion for partial summary
      judgment on the bona-fide-error defense.

         2. The CFPB did not make “judicial admissions” that rob the Court
            of jurisdiction.

         Summary judgment is also unwarranted for the first three counts of
      the CFPB’s complaint. FirstCash argues that the CFPB may not pursue

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      its Military Lending Act 1 claims because it “admitted” that it relies on
      the enforcement provisions of the Consumer Financial Protection Act
      (the “Consumer Act”) and the Truth in Lending Act (the “Truth Act”).
      ECF No. 81 at 18–19; see ECF No. 44.2 Because the first three counts of
      the Amended Complaint seek relief under the Military Lending Act
      (ECF No. 51 at 8–10), FirstCash argues that the CFPB’s statements are
      “judicial admissions” that “eliminate jurisdiction” over those claims
      (ECF No. 81 at 19):

            Simply put, the CFPB has admitted that it is only relying
            on the enforcement authority of the [Consumer Act] to
            bring its claims here. But the plain text of the [Consumer
            Act] does not give the agency the jurisdiction to bring, or
            this Court to hear, those claims. As such, the Court must
            dismiss Counts 1–3 for lack of jurisdiction.

         This argument is a red herring. It is irrelevant that the Consumer
      Act does not empower the CFPB to enforce the Military Lending Act—
      the Military Lending Act itself empowers the CFPB to enforce its
      provisions using the Consumer Act. Specifically, paragraph (f)(6) of the
      Military Lending Act says the Act’s “provisions . . . shall be enforced by
      the agencies specified in section 108 of the Truth in Lending Act (15
      U.S.C. 1607) in the manner set forth in that section or under any other
      applicable authorities available to such agencies by law.” 10 U.S.C.
      § 987(f)(6). The meaning of the phrase “in the manner set forth in that
      section” therefore directly encompasses the powers given to the CFPB to
      enforce the Truth Act in Section 108. Id. Section 108 of the Truth Act,
      in turn, empowers the CFPB to enforce its provisions under the
      Consumer Act. 10 U.S.C. § 1607. The Consumer Act is therefore another
      “applicable authorit[y] available to” the CFPB. 10 U.S.C. § 987(f)(6). To
      enforce the Military Lending Act “in the manner set forth” in Section
      108 of Truth Act means to use the same powers the CFPB has to enforce



         1The title is written out in this subsection to avoid confusion.


         2TheBureau made this statement in an earlier brief before it filed its
      Amended Complaint, which restarted this round of briefing.

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      the Truth Act—including the Consumer Act. By the plain text of (f)(6),
      then, the CFPB may enforce the Military Lending Act by means of the
      Consumer Act. To argue that the CFPB is judicially estopped from
      pursuing its Military Lending Act claims requires FirstCash to willfully
      close its eyes to paragraph (f)(6) and the statutes it refers to. FirstCash’s
      argument on this point—unlike its arguments on the bona-fide-error
      defense—is frivolous.3 The Court DENIES FirstCash’s motion for
      partial summary judgment on the first three counts of the CFPB’s
      complaint.

      B. The CFPB’s Motion to Strike

         1. A motion to strike is procedurally proper because the
            availability of the bona-fide-error defense is a question of law
            only.

          Before analyzing the text of the Act, the Court must first decide
      whether a motion to strike is procedurally prudent. The Court concludes
      that it is. As discussed above, courts usually disfavor motions to strike.
      Coney, 689 F.3d at 379. That is “[p]artly because of the practical
      difficulty of deciding cases without a factual record.” Augustus, 306 F.2d
      at 868 (internal citation and quotation omitted). But that concern falls
      by the wayside in cases like this one, in which a factual record would not
      make the Court’s interpretation of the Act any easier. Whether the bona-
      fide-error defense is available in agency enforcement actions is a pure
      question of law. And motions to strike are most fitting when “the defense
      in issue is invalid as a matter of law.” Johnson v. Am. Airlines, Inc., 487
      F. Supp. 1343, 1344 (N.D. Tex. 1980).

         In addition, striking a legally doomed defense is efficient. If the
      defense remains in play longer than it should, the parties will waste
      money and time on discovery and will almost certainly delay the



         3An attorney who files a brief implicitly certifies to the Court that the legal

      arguments in it are “warranted by existing law or by a nonfrivolous argument
      for extending, modifying, or reversing existing law[.]” FED. R. CIV. P. 11(b).
      Attorneys who violate Rule 11(b) are subject to sanctions. FED. R. CIV. P. 11(c)
      (emphasis added).

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      resolution of the case. Under these circumstances, Rule 12(f) is useful
      and fitting.

          Besides, FirstCash’s procedural objection to the motion to strike falls
      flat given that it moved for summary judgment on the same legal
      question. If the CFPB had not moved to strike but instead moved for
      summary judgment as FirstCash did, the posture of the case would be
      no different. Nowhere does FirstCash indicate how, if at all, the Court’s
      legal standard would change between the two motion types. Nor does
      FirstCash explain how an order striking the bona-fide-error defense
      would be more prejudicial than summary judgment for the CFPB. The
      bottom line is that both parties ask the Court to rule on a pure question
      of law without a factual record. The Court will therefore do what both
      parties request and proceed to analyze the text of the Act.

         2. The bona-fide-error defense does not protect defendants from
            liability in agency enforcement actions.

         As always, we start with the words of the statute. Henson v.
      Santander Consumer USA Inc., 582 U.S. 79, 83 (2017). Whether the
      bona-fide-error defense applies to federal agency enforcement actions
      depends on the language of the Act and nothing else. The words enacted
      by Congress control the outcome; Congress’s perceived policy goals do
      not. Oklahoma v. Castro-Huerta, 597 U.S. 629, 642 (2022). Nor can other
      considerations, such as pragmatism or the desirability of a given
      outcome, override the plain meaning of the text. United States v.
      Martino, 681 F.2d 952, 961 (5th Cir. 1982); see also ANTONIN SCALIA &
      BRYAN A. GARNER, READING LAW: THE INTERPRETATION OF LEGAL TEXTS
      352–54 (2012) (consequences of a decision are not a key to sound
      interpretation). The Court gives words their normal contextual
      meanings using normal rules of interpretation. Leocal v. Ashcroft, 543
      U.S. 1, 9 (2004). In interpreting subparagraph (f)(5)(D) of the Act, the
      Court endeavors to read the whole statute contextually, giving effect to
      every word, clause, and sentence. Fischer v. United States, 144 S. Ct.
      2176, 2183 (2024). But the context of (f)(5)(D) stretches beyond Section
      987; it also includes other statutes that Section alludes to. See United
      States v. Marshall, 798 F.3d 296, 309 (5th Cir. 2015) (internal citations

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      omitted) (courts should read multiple statutes in harmony with each
      other); see also Nat’l Ass’n of Priv. Fund Managers v. Sec. & Exch.
      Comm’n, 103 F.4th 1097, 1111 (5th Cir. 2024) (internal citation omitted)
      (statutes in pari materia are read harmoniously). Because the Act
      incorporates the Truth Act and the Consumer Act, those statutes are
      part of the context of subparagraph (f)(5)(D).

         The first three subsections of the Act limit the interest that can be
      charged in consumer loans to Covered Borrowers and create mandatory
      disclosures. Subsections (d), (e), and (g) through (i) are not relevant.

         Subsection (f), the portion under dispute, provides remedies for
      violations of the Act. It reads in relevant part:

            (f) Penalties and remedies.—
                (1) Misdemeanor.—A creditor who knowingly violates
            this section shall be fined as provided in title 18, or
            imprisoned for not more than one year, or both.
                [. . .]
                (5) Civil liability.—
                     (A) In general.—A person who violates this section
               with respect to any person is civilly liable to such person
               for—
                     (i) any actual damage sustained as a result, but
                   not less than $500 for each violation;
                      (ii) appropriate punitive damages;
                      (iii) appropriate equitable or declaratory relief;
                   and
                       (iv) any other relief provided by law.
               [. . . ]
                    (D) Defenses.—A person may not be held liable for
               civil liability under this paragraph if the person shows by
               a preponderance of evidence that the violation was not
               intentional and resulted from a bona fide error not-
               withstanding the maintenance of procedures reasonably
               adapted to avoid any such error. Examples of a bona fide
               error include clerical, calculation, computer malfunction

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                 and programming, and printing errors, except that an
                 error of legal judgment with respect to a person’s
                 obligations under this section is not a bona fide error.
                 [. . .]
             (6) Administrative enforcement.—The provisions of this
          section (other than paragraph (1) of this subsection) shall be
          enforced by the agencies specified in section 108 of the Truth in
          Lending Act (15 U.S.C. 1607) in the manner set forth in that
          section or under any other applicable authorities available to
          such agencies by law.

          Consider the language of the bona-fide-error defense carefully.
       Subparagraph (f)(5)(D) provides that a “person may not be held liable
       for civil liability under this paragraph if the person shows” the necessary
       facts. If a defendant can show those facts, it avoids “civil liability under
       this paragraph”—that is, civil liability under paragraph (5).

           What is civil liability under paragraph (5)? Consider subparagraph
       (5)(A) above: “A person who violates this section with respect to any
       person is civilly liable to such person” for actual damages, punitive
       damages, equitable or declaratory relief, and “any other relief provided
       by law.” Id. § 987(f)(5)(A). Liability under paragraph (5) is liability to a
       class of persons for the kinds of relief listed. For the bona-fide-error
       defense to apply, then, the defendant must be trying to avoid liability to
       that class of persons for those kinds of relief.

          Paragraph (f)(5) describes liability to no one else but Covered
       Borrowers. “A person who violates this section with respect to any
       person is civilly liable to such person[.]” Id. § 987(f)(5)(A). To “violate[]
       this section” is to make a consumer loan prohibited by the Act. The
       phrase “with respect to” means “in relation to.” Respect, MERRIAM-
       WEBSTER.COM. A lender violates the Act “with respect to” or “in relation
       to” a person when it makes a prohibited consumer loan to that person.
       The lender then becomes liable to “such person.” The adjective “such” in
       this context means “of the same class, type, or sort.” Such, MERRIAM-
       WEBSTER.COM. It restricts the word “person” to the category of persons
       previously indicated. So “such person” means “any person” with respect

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       to whom the creditor violated the Act. Putting it all together, “civil
       liability under” paragraph (5) must be a creditor’s liability to a Covered
       Borrower to whom the creditor made a prohibited loan. That kind of
       liability is what the bona-fide-error defense protects against.

           Therefore, even if an agency can be a “person” within the meaning of
       the Act, it cannot be the type of person to whom a creditor is liable in
       (f)(5)(A). Subparagraph (f)(5)(A) makes a creditor liable not just to any
       person but “to such person”—that is, to the person to whom the creditor
       made a prohibited loan. Logically, that person cannot be an agency.
       Agencies do not serve in the armed forces, nor (the Court presumes) do
       they take out pawn loans. Because the bona-fide-error defense protects
       only against “civil liability under this paragraph,” and “this paragraph”
       makes lenders liable only to Covered Borrowers, the defense protects
       creditors only from liability to Covered Borrowers. The bona-fide-error
       defense, therefore, does not protect against liability to an administrative
       agency.

          Liability under paragraph (f)(5) is also limited to liability for the
       kinds of relief listed in that paragraph. Id. § 987(f)(5)(A). That list
       includes actual damages, punitive damages, equitable or declaratory
       relief, and “any other relief provided by law.” Id. The bona-fide-error
       defense thus protects defendants specifically from being held liable for
       the kinds of relief listed in subparagraph (f)(5)(A).

          Liability in an agency enforcement action is not liability for those
       kinds of relief. When an agency like the CFPB brings a civil action to
       enforce the Act, it seeks a completely different—and in fact mutually
       exclusive—set of remedies. As discussed above, the CFPB enforces the
       Act’s provisions under the Consumer Act. Id. § 987(f)(6); 15 U.S.C.
       § 1607(a)(6). The Consumer Act provides a set of remedies to agencies.
       12 U.S.C. § 5565(a)(2). Some of those remedies overlap with those in the
       Act—for example, payment of damages and equitable relief. Compare 10
       U.S.C. § 987(f)(5)(A) with 12 U.S.C. § 5565(a)(2). But (f)(5)(A) enables
       plaintiffs to recover punitive damages, while the Consumer Act
       explicitly disallows agencies to recover punitive damages. 12 U.S.C.
       § 5565(a)(3). Because those lists are mutually exclusive, actions by the

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       CFPB cannot result in the relief provided in (f)(5)(A). But those kinds of
       relief are the only ones the bona-fide-error defense applies to.

           For the bona-fide-error defense to apply, the CFPB must be seeking
       to impose liability to Covered Borrowers for the kinds of relief in (f)(5)(A.
       FirstCash argues the CFPB is doing just that by seeking restitution “to
       consumers.” ECF No. 81 at 7. That is wrong for two reasons. First,
       FirstCash’s argument would only apply to one remedy the CFPB asks
       for: restitution to consumers. ECF No. 51 at 11. The rest of the relief it
       asks for, such as civil penalties and costs, could not be characterized as
       liability to Covered Borrowers, so it would fall outside the scope of the
       bona-fide-error defense. Second, even if restitution could be
       characterized as liability to covered borrowers, it is still not liability for
       the relief provided in the Act. The CFPB’s power to require lenders to
       make restitution comes from the Consumer Act, and the bona-fide-error
       defense only applies to liability for the remedies in (f)(5). Even though
       the CFPB may be said to stand in the shoes of consumers by seeking
       restitution on their behalf, it is still imposing a different kind of liability
       than that described in paragraph (f)(5).

                                           * * *

          The bona-fide-error defense shields lenders from liability to Covered
       Borrowers for the remedies in (f)(5)(A). But agency enforcement actions
       impose liability to a different kind of plaintiff for a different kind of
       relief. Therefore, the bona-fide-error defense is not available to
       defendants in federal agency enforcement actions under the Act.

                 a. The exception of paragraph (f)(1) from agency
                    enforcement does not entail that the bona-fide-error
                    defense applies.

          Paragraph (f)(6) empowers agencies to enforce all the Act’s provisions
       except for paragraph (f)(1), which imposes misdemeanor-level criminal
       penalties on persons who “knowingly” violate the Act. 10 U.S.C.
       § 987(f)(6). FirstCash argues that because the statute makes an
       exception for paragraph (f)(1) only, subparagraph (f)(5)(D) is implicitly
       included in agency enforcement actions. ECF No. 81 at 8–10. Congress


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       “knew perfectly well how to except specific parts of [the Act] from the
       purview of agency enforcement” but did not do so with the bona-fide-
       error defense. Id. at 9. Therefore, FirstCash argues, the bona-fide-error
       defense applies in agency enforcement actions. Because (f)(6) uses the
       mandatory word “shall,” FirstCash contends that the CFPB has no
       discretion to pick and choose which parts of the Act to bring to the table.

          To see why that argument fails, consider an analogy to the hearsay
       rule. Suppose a trial attorney in a trademark case needs to prove that
       the defendant’s infringement was likely to cause confusion. See 15
       U.S.C. § 1114(1). The attorney offers an email from a customer that
       reads: “I had a bad experience with this product I bought from the
       plaintiff.” The attorney elicits testimony from another witness that the
       product was actually sold by the defendant using the plaintiff ’s
       trademark. At first glance, the email is an out-of-court statement that
       does not meet any of the hearsay exceptions listed in Rule 803 of the
       Federal Rules of Evidence. See FED. R. CIV. P. 803. But it is still not
       hearsay. It is not offered to prove the truth of the matter asserted (that
       the customer had a bad experience). It is offered to prove the customer
       was confused. Like the exclusions in Rule 801(d), the email does not
       need to fit an exception because it is not covered by the definition of
       hearsay to begin with. See FED. R. CIV. P. 801; see also Cross Trailers,
       Inc. v. Cross Trailer Mfg. and Sales, LLC, 363 F. Supp. 3d 774, 785 (W.D.
       Tex. 2018). It is excluded, not excepted.

          In the same way, the bona-fide-error defense does not need to be
       carved out by any exception because, on its own terms, it cannot apply
       in agency enforcement actions. Assuming that (f)(5)(D) falls within the
       “purview of agency enforcement,” it still cannot help FirstCash here. As
       discussed above, the bona-fide-error defense is only a defense against
       liability to a Covered Borrower to whom a lender made a prohibited loan.
       The CFPB is not a Covered Borrower seeking to impose that kind of
       liability. Therefore, it does not matter that (f)(5)(D) falls within the
       general provisions the CFPB is tasked with enforcing; it simply cannot
       logically apply to the CFPB’s claims.



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                 b. The similarity between the Military Lending Act and the
                    Fair Debt Collection Practices Act only strengthens the
                    Court’s conclusion.

          FirstCash compares the Act to similar consumer protection laws and
       points out that similarly worded defenses in those statutes have been
       held to apply in agency actions. ECF No. 81 at 15–18. For example,
       consider the Fair Debt Collection Practices Act (the “Collection Act”). 15
       U.S.C. §§ 1692 et seq. Like the Act, the Collection Act regulates
       consumer finance and authorizes federal agencies to enforce
       “compliance with any requirements imposed under this subchapter.” 15
       U.S.C. § 1692l. (Unlike the Act, which is comprised of only one “section”
       of the Code, the Collection Act includes an entire “subchapter.” See 15
       U.S.C., ch. 41, subch. V: “Debt Collection Practices.”)

          The Collection Act has its own bona-fide-error defense, codified at 15
       U.S.C. § 1692k(c), which is identical to (f)(5)(D) with two exceptions.
       First, 1692k(c) uses “debt collector” where (f)(5)(D) uses “person.”
       Second, where (f)(5)(D) says “liable for civil liability under this
       paragraph,” 1692k(c) says “liable in any action brought under this
       subchapter.” The two statutes appear side by side below with differences
       underlined.

       Military Lending Act                  Fair Debt Collection Practices Act

       A person may not be held              A debt collector may not be held
       liable for civil liability under      liable in any action brought under
       this paragraph if the                 this subchapter if the debt
       person shows by a                     collector shows by a
       preponderance of evidence that        preponderance of evidence that
       the violation was not intentional     the violation was not intentional
       and resulted from a bona fide         and resulted from a bona fide
       error notwithstanding the             error notwithstanding the
       maintenance of procedures             maintenance of procedures
       reasonably adapted to avoid any       reasonably adapted to avoid any
       such error.                           such error.

       10 U.S.C. § 987(f)(5)(D).             15 U.S.C. § 1692k(c).




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           In a non-binding decision, the District Court for the Western District
       of North Carolina held that under the “plain language of § 1692k(c),” the
       defense “applies to agency enforcement actions.” Fed. Trade Comm’n v.
       Swatsworth, No. 3:17-cv-340-GCM, 2018 WL 4016312, at *10 (W.D.N.C.
       Aug. 22, 2018). Although the Court takes no specific issue with the
       Swatworth court’s reasoning, it is inapposite here. The differences
       between the Act and the Collection Act distinguish the result in that
       case. 1692k(c) provides a defense to “any action brought under this
       subchapter,” i.e., the entire Collection Act. In contrast, (f)(5)(D) only
       applies to “civil liability under this paragraph,” i.e., the paragraph on
       private civil suits. Although the statutes are otherwise similar, that
       slight difference is fatal to FirstCash’s argument.

          The Court GRANTS the CFPB’s motion to strike the bona-fide-error
       defense from FirstCash’s answer.

          3. The Court does not strike FirstCash’s sixth and eighth
             affirmative defenses.

           The CFPB also moves to strike FirstCash’s sixth and eighth
       affirmative defenses, which purport to reserve rights to amend its
       answer. ECF No. 77 at 6–7; ECF No. 53 at 14–15. The CFPB has not
       explained how, if at all, the existence of those defenses causes prejudice.
       A “reservation of rights within an answer is essentially meaningless,”
       but it “does not prejudice Plaintiff in any way.” Mosser v. Aetna Life Ins.
       Co., No. 4:15-cv-00430-ALM-KPJ, 2018 WL 3301808 (E.D. Tex. Mar. 9,
       2018), report and recommendation adopted, No. 4:15-cv-00430, 2018 WL
       1517032 (E.D. Tex. Mar. 28, 2018). While FirstCash’s sixth affirmative
       defense is more properly raised in a motion to amend, Lorenzen v. Arch
       Ins. Co., No. 3:06-cv-0219-P, 2006 WL 8437697, at *4 (N.D. Tex. June
       21, 2006), leaving the defense in the answer does no harm to the CFPB
       or to the case. If FirstCash wants to amend its answer, it still must move
       for leave to do so. Because there is not good cause to strike FirstCash’s
       sixth and eighth affirmative defenses, the CFPB’s Motion is DENIED
       in that respect.




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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT110
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       REGINALEA KEMP,
                                   CONCLUSION
         Plaintiff,
          The bona-fide-error defense protects against “civil liability under this
      paragraph.” Civil liability “under this paragraph” means the liability
       v.                                                 No. 4:23-cv-00841-P
      described in (f)(5)(A)—liability for civil damages to a person to whom the
      lender
       REGIONSmade  a prohibited
                  BANK   ET AL., loan. Logically and based upon the text, that
      person can only be a Covered Borrower. Therefore, the bona-fide-error
          Defendants.
      defense  does not apply in actions for civil penalties brought by the CFPB
      or other federal agencies.       ORDER
          Before the Court is Plaintiff’s Unopposed Motion for Leave to File
          The Court therefore GRANTS the CFPB’s Motion to Strike (ECF No.
       Second Amended Complaint. ECF No. 18. Having considered the Motion
      76) in part and STRIKES FirstCash’s Fourth Affirmative Defense from
       and applicable docket entries, the Court GRANTS the Motion.
      its Answer (ECF No. 53). The CFPB’s Motion to Strike is otherwise
          SO ORDERED
      DENIED.              on this
                   The Court        18th day
                                DENIES         of September
                                            FirstCash’s         2023.
                                                           Motion  for Summary
      Judgment (ECF No. 80).

         SO ORDERED on this 7th day of November 2024.




                            ______________________________________________
                            Mark T. Pittman
                            UNITED STATES DISTRICT JUDGE




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